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 1                                                                The Honorable John C. Coughenour

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 6
                                     UNITED STATES DISTRICT COURT
 7                                  WESTERN DISTRICT OF WASHINGTON
 8   BARBARO ROSAS and GUADALUPE                         No. 2:18-cv-00112-JCC
     TAPIA, as individuals and on behalf of all
 9   other similarly situated persons,                   ANSWER AND AFFIRMATIVE
                                                         DEFENSES TO FIRST AMENDED
10
                            Plaintiffs,                  COMPLAINT FOR DAMAGES AND
11                                                       INJUNCTIVE RELIEF
              v.
12
     SARBANAND FARMS, LLC, MUNGER
13   BROS., LLC., NIDIA PEREZ, and CSI
     VISA PROCESSING S.C.,
14
                            Defendants.
15

16

17                                                 ANSWER
18            CSI Visa Processing S.C. (“CSI”) answers the allegations in the First Amended
19   Complaint for Damages and Injunctive Relief (“Complaint”) as follows:
20                                        PRELIMINARY STATEMENT
21            1.        Answering Paragraph 1, CSI denies the allegations in Paragraph 1.
22            2.        Answering Paragraph 2, the allegations are directed to other Defendants, and no
23   response from CSI is required. To the extent a response is required, CSI denies the allegations
24   for lack of information.
25            3.        Answering Paragraph 3, CSI denies the allegations.
26

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 1
                                                                                      STOEL RIVES LLP
                                                                                           ATTORNEYS
                                                                      600 University Street, Suite 3600, Seattle, WA 98101
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 1                                      JURISDICTION AND VENUE

 2            4.        Answering Paragraph 4, the allegations are legal conclusions to which no

 3   response is required. To the extent a response is required, CSI denies the allegations.

 4            5.        Answering Paragraph 5, the allegations are legal conclusions to which no

 5   response is required. To the extent a response is required, CSI denies the allegations.

 6            6.        Answering Paragraph 6, the allegations are legal conclusions to which no

 7   response is required. To the extent a response is required, CSI denies the allegations.

 8            7.        Answering Paragraph 7, the allegations are legal conclusions to which no

 9   response is required. To the extent a response is required, CSI denies the allegations.

10                                                 PARTIES

11            8.        Answering Paragraph 8, CSI denies the allegations for lack of information.

12            9.        Answering Paragraph 9, CSI denies the allegations for lack of information.

13            10.       Answering Paragraph 10, on information and belief, CSI admits that Defendant

14   Sarbanand Farms, LLC (“Sarbanand”) is a Washington corporation with its place of business in

15   Sumas, Washington located in Whatcom County. CSI denies the remaining allegations for lack

16   of information.

17            11.       Answering Paragraph 11, on information and belief, CSI admits that Defendant

18   Munger Bros., LLC (“Munger”) is a California corporation with its principal place of business in

19   Delano, California. CSI denies the remaining allegations for lack of information.

20            12.       Answering Paragraph 12, CSI denies the allegations for lack of information.

21            13.       Answering Paragraph 13, CSI admits that it is a Mexican company with its

22   principal place of business in Durango, Mexico.

23                                         STATEMENT OF FACTS

24            14.       Answering Paragraph 14, the allegations are directed to other Defendants and do

25   not require a response from CSI. To the extent a response is required, CSI denies the allegations

26   for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 2
                                                                                      STOEL RIVES LLP
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 1            15.       Answering Paragraph 15, the allegations are directed to other Defendants and do

 2   not require a response from CSI. To the extent a response is required, CSI denies the allegations

 3   for lack of information.

 4            16.       Answering Paragraph 16, the allegations are directed to other Defendants and do

 5   not require a response from CSI. To the extent a response is required, CSI denies the allegations

 6   for lack of information.

 7            17.       Answering Paragraph 17, the allegations are directed to other Defendants and do

 8   not require a response from CSI. To the extent a response is required, CSI denies the allegations

 9   for lack of information.

10            18.       Answering Paragraph 18, the allegations are directed to other Defendants and do

11   not require a response from CSI. To the extent a response is required, CSI denies the allegations

12   for lack of information.

13            19.       Answering Paragraph 19, the allegations are directed to other Defendants and do

14   not require a response from CSI. To the extent a response is required, CSI denies the allegations

15   for lack of information.

16            20.       Answering Paragraph 20, the allegations are directed to other Defendants and do

17   not require a response from CSI. To the extent a response is required, CSI denies the allegations

18   for lack of information.

19            21.       Answering Paragraph 21, the allegations are directed to other Defendants and do

20   not require a response from CSI. To the extent a response is required, CSI denies the allegations

21   for lack of information.

22            22.       Answering Paragraph 22, CSI denies the allegations.

23            23.       Answering Paragraph 23, CSI admits the allegations.

24            24.       Answering Paragraph 24, CSI admits that it has multiple offices in Mexico. CSI

25   denies the remaining allegations.

26            25.       Answering Paragraph 25, CSI denies the allegations.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 3
                                                                                      STOEL RIVES LLP
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 1            26.       Answering Paragraph 26, CSI denies the allegations.

 2            27.       Answering Paragraph 27, CSI denies the allegations.

 3            28.       Answering Paragraph 28, CSI denies the allegations.

 4            29.       Answering Paragraph 29, CSI denies the allegations.

 5            30.       Answering Paragraph 30, the referenced advertisement speaks for itself.

 6            31.       Answering Paragraph 31, the referenced advertisement speaks for itself.

 7            32.       Answering Paragraph 32, the referenced document speaks for itself.

 8            33.       Answering Paragraph 33, CSI denies the allegations for lack of information.

 9            34.       Answering Paragraph 34, CSI denies the allegations.

10            35.       Answering Paragraph 35, CSI denies the allegations.

11            36.       Answering Paragraph 36, CSI denies the allegations.

12            37.       Answering Paragraph 37, CSI admits that it did not have a Washington farm labor

13   contractor’s license. CSI denies the remaining allegations.

14            38.       Answering Paragraph 38, CSI denies the allegations.

15            39.       Answering Paragraph 39, CSI admits the allegations.

16            40.       Answering Paragraph 40, CSI admits the allegations.

17            41.       Answering Paragraph 41, CSI denies the allegations.

18            42.       Answering Paragraph 42, CSI denies the allegations.

19            43.       Answering Paragraph 43, the referenced business card speaks for itself.

20            44.       Answering Paragraph 44, CSI admits the allegations.

21            45.       Answering Paragraph 45, CSI admits the allegations.

22            46.       Answering Paragraph 46, the referenced biography speaks for itself.

23            47.       Answering Paragraph 47, the referenced biography speaks for itself.

24            48.       Answering Paragraph 48, CSI admits that Ms. Macias attended WAFLA’s

25   conferenced in 2016.

26            49.       Answering Paragraph 49, the referenced biography speaks for itself.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 4
                                                                                      STOEL RIVES LLP
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 1            50.       Answering Paragraph 50, CSI admits the allegations.

 2            51.       Answering Paragraph 51, CSI denies the allegations.

 3            52.       Answering Paragraph 52, the referenced corporate filings speak for themselves.

 4            53.       Answering Paragraph 53, the referenced application speaks for itself.

 5            54.       Answering Paragraph 54, the referenced application speaks for itself.

 6            55.       Answering Paragraph 55, the referenced business card speaks for itself.

 7            56.       Answering Paragraph 56, the referenced report speaks for itself.

 8            57.       Answering Paragraph 57, CSI admits that Ms. Macias attended WAFLA

 9   conference as a panel speaker.

10            58.       Answering Paragraph 58, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            59.       Answering Paragraph 59, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            60.       Answering Paragraph 60, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            61.       Answering Paragraph 61, CSI denies the allegations.

20            62.       Answering Paragraph 62, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            63.       Answering Paragraph 63, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

26

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 5
                                                                                       STOEL RIVES LLP
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 1            64.       Answering Paragraph 64, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            65.       Answering Paragraph 65, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            66.       Answering Paragraph 66, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10   Sarbanand’s Use of H-2A Workers in 2015 and 2016

11            67.       Answering Paragraph 67, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14            68.       Answering Paragraph 68, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            69.       Answering Paragraph 69, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20            70.       Answering Paragraph 70, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            71.       Answering Paragraph 71, CSI denies the allegations.

24            72.       Answering Paragraph 72, the allegations are directed to other Defendants and no

25   response from CSI is required. To the extent a response from CSI is required, CSI denies the

26   allegations for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 6
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 1            73.       Answering Paragraph 73, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4   Munger’s 2017 California H-2A Applications

 5            74.       Answering Paragraph 74, the allegations are directed to other Defendants and no

 6   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 7   allegations for lack of information.

 8            75.       Answering Paragraph 75, the allegations are directed to other Defendants and no

 9   response from CSI is required. To the extent a response from CSI is required, CSI denies the

10   allegations for lack of information.

11            76.       Answering Paragraph 76, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14            77.       Answering Paragraph 77, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            78.       Answering Paragraph 78, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20            79.       Answering Paragraph 79, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            80.       Answering Paragraph 80, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 7
                                                                                      STOEL RIVES LLP
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 1            81.       Answering Paragraph 81, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            82.       Answering Paragraph 82, CSI admits the allegations.

 5            83.       Answering Paragraph 83, the allegations are directed to other Defendants and no

 6   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 7   allegations for lack of information.

 8            84.       Answering Paragraph 84, CSI admits the allegations.

 9            85.       Answering Paragraph 85, CSI denies the allegations for lack of information.

10            86.       Answering Paragraph 86, CSI admits the allegations.

11            87.       Answering Paragraph 87, CSI denies the allegations for lack of information.

12            88.       Answering Paragraph 88, CSI denies the allegations for lack of information.

13            89.       Answering Paragraph 89, CSI denies the allegations.

14            90.       Answering Paragraph 90, CSI denies the allegations for lack of information.

15            91.       Answering Paragraph 91, the allegations are directed to other Defendants and no

16   response from CSI is required. To the extent a response from CSI is required, CSI denies the

17   allegations for lack of information.

18            92.       Answering Paragraph 92, CSI denies the allegations for lack of information.

19            93.       Answering Paragraph 92, CSI denies the allegations for lack of information.

20            94.       Answering Paragraph 94, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            95.       Answering Paragraph 95, CSI denies the allegations.

24            96.       Answering Paragraph 96, the allegations are directed to other Defendants and no

25   response from CSI is required. To the extent a response from CSI is required, CSI denies the

26   allegations for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 8
                                                                                      STOEL RIVES LLP
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 1            97.       Answering Paragraph 97, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            98.       Answering Paragraph 98, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            99.       Answering Paragraph 99, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            100.      Answering Paragraph 100, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            101.      Answering Paragraph 101, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            102.      Answering Paragraph 102, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            103.      Answering Paragraph 103, the allegations are directed to other Defendants and no

20   response from CSI is required. To the extent a response from CSI is required, CSI denies the

21   allegations for lack of information.

22            104.      Answering Paragraph 104, the allegations are directed to other Defendants and no

23   response from CSI is required. To the extent a response from CSI is required, CSI denies the

24   allegations for lack of information.

25

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 9
                                                                                      STOEL RIVES LLP
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 1            105.      Answering Paragraph 105, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            106.      Answering Paragraph 106, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            107.      Answering Paragraph 107, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            108.      Answering Paragraph 108, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            109.      Answering Paragraph 109, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            110.      Answering Paragraph 110, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            111.      Answering Paragraph 111, the allegations are directed to other Defendants and no

20   response from CSI is required. To the extent a response from CSI is required, CSI denies the

21   allegations for lack of information.

22            112.      Answering Paragraph 112, the allegations are directed to other Defendants and no

23   response from CSI is required. To the extent a response from CSI is required, CSI denies the

24   allegations for lack of information.

25            113.      Answering Paragraph 113, CSI denies the allegations for lack of information.

26

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 10
                                                                                      STOEL RIVES LLP
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 1            114.      Answering Paragraph 114, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            115.      Answering Paragraph 115, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7   Sarbanand’s 2017 Washington State H-2A Applications

 8            116.      Answering Paragraph 116, the allegations are directed to other Defendants and no

 9   response from CSI is required. To the extent a response from CSI is required, CSI denies the

10   allegations for lack of information.

11            117.      Answering Paragraph 117, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14            118.      Answering Paragraph 118, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            119.      Answering Paragraph 119, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20            120.      Answering Paragraph 120, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            121.      Answering Paragraph 121, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

26

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 11
                                                                                      STOEL RIVES LLP
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 1            122.      Answering Paragraph 122, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            123.      Answering Paragraph 123, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            124.      Answering Paragraph 124, CSI admits that Sumas, Washington is located next to

 8   the border between the United States and Canada and includes a border-crossing point providing

 9   access to Canada from the United States. CSI denies the remaining allegations for lack of

10   information.

11            125.      Answering Paragraph 125, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14            126.      Answering Paragraph 126, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            127.      Answering Paragraph 127, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20            128.      Answering Paragraph 128, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            129.      Answering Paragraph 129, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

26

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 12
                                                                                      STOEL RIVES LLP
                                                                                           ATTORNEYS
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 1            130.      Answering Paragraph 130, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4   Sarbanand’s “Death Bed” No Sick Days Policy

 5            131.      Answering Paragraph 131, the allegations are directed to other Defendants and

 6   no response from CSI is required. To the extent a response from CSI is required, CSI denies the

 7   allegations for lack of information.

 8            132.      Answering Paragraph 132, the allegations are directed to other Defendants and no

 9   response from CSI is required. To the extent a response from CSI is required, CSI denies the

10   allegations for lack of information.

11            133.      Answering Paragraph 133, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14            134.      Answering Paragraph 134, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            135.      Answering Paragraph 135, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20   Sarbanand’s Use of Illegal and Unauthorized Production Standards

21            136.      Answering Paragraph 136, the allegations are directed to other Defendants and no

22   response from CSI is required. To the extent a response from CSI is required, CSI denies the

23   allegations for lack of information.

24            137.      Answering Paragraph 137, the allegations are directed to other Defendants and no

25   response from CSI is required. To the extent a response from CSI is required, CSI denies the

26   allegations for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 13
                                                                                      STOEL RIVES LLP
                                                                                           ATTORNEYS
                                                                      600 University Street, Suite 3600, Seattle, WA 98101
     96945618.1 0067330-00002                                                       Telephone 206.624.0900
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 1            138.      Answering Paragraph 138, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            139.      Answering Paragraph 139, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            140.      Answering Paragraph 140, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            141.      Answering Paragraph 141, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            142.      Answering Paragraph 142, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            143.      Answering Paragraph 143, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19   Sarbanand Provided Inadequate and Unhealthy Food

20            144.      Answering Paragraph 144, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            145.      Answering Paragraph 145, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

26

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 14
                                                                                      STOEL RIVES LLP
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 1            146.      Answering Paragraph 146, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            147.      Answering Paragraph 147, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            148.      Answering Paragraph 148, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            149.      Answering Paragraph 149, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            150.      Answering Paragraph 150, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            151.      Answering Paragraph 151, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            152.      Answering Paragraph 152, the allegations are directed to other Defendants and no

20   response from CSI is required. To the extent a response from CSI is required, CSI denies the

21   allegations for lack of information.

22            153.      Answering Paragraph 153, the allegations are directed to other Defendants and no

23   response from CSI is required. To the extent a response from CSI is required, CSI denies the

24   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 15
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 1            154.      Answering Paragraph 154, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            155.      Answering Paragraph 155, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            156.      Answering Paragraph 156, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            157.      Answering Paragraph 157, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13   Strike for Improved Working Conditions and Safety

14            158.      Answering Paragraph 158, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            159.      Answering Paragraph 159, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20            160.      Answering Paragraph 160, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            161.      Answering Paragraph 161, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 16
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 1            162.      Answering Paragraph 162, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            163.      Answering Paragraph 163, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            164.      Answering Paragraph 164, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            165.      Answering Paragraph 165, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            166.      Answering Paragraph 166, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            167.      Answering Paragraph 167, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            168.      Answering Paragraph 168, the allegations are directed to other Defendants and no

20   response from CSI is required. To the extent a response from CSI is required, CSI denies the

21   allegations for lack of information.

22            169.      Answering Paragraph 169, the allegations are directed to other Defendants and no

23   response from CSI is required. To the extent a response from CSI is required, CSI denies the

24   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 17
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 1            170.      Answering Paragraph 170, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            171.      Answering Paragraph 171, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            172.      Answering Paragraph 172, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            173.      Answering Paragraph 173, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            174.      Answering Paragraph 174, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            175.      Answering Paragraph 175, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            176.      Answering Paragraph 176, the allegations are directed to other Defendants and no

20   response from CSI is required. To the extent a response from CSI is required, CSI denies the

21   allegations for lack of information.

22            177.      Answering Paragraph 177, the allegations are directed to other Defendants and no

23   response from CSI is required. To the extent a response from CSI is required, CSI denies the

24   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 18
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 1            178.      Answering Paragraph 178, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            179.      The Answering Paragraph 179, the allegations are directed to other Defendants

 5   and no response from CSI is required. To the extent a response from CSI is required, CSI denies

 6   the allegations for lack of information.

 7            180.      Answering Paragraph 180, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            181.      Answering Paragraph 181, the allegations are directed to other Defendants and no

11   response from CSI is required. To the extent a response from CSI is required, CSI denies the

12   allegations for lack of information.

13            182.      Answering Paragraph 182, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            183.      Answering Paragraph 183, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19            184.      Answering Paragraph 184, the allegations are directed to other Defendants and no

20   response from CSI is required. To the extent a response from CSI is required, CSI denies the

21   allegations for lack of information.

22            185.      Answering Paragraph 185, the allegations are directed to other Defendants and no

23   response from CSI is required. To the extent a response from CSI is required, CSI denies the

24   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 19
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 1            186.      Answering Paragraph 186, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            187.      Answering Paragraph 187, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            188.      Answering Paragraph 188, on information and belief, CSI admits that Mr. Ibarra

 8   passed away at Harborview Medical Center in Seattle, Washington on or about August 6, 2017.

 9   CSI otherwise lacks knowledge or information sufficient to answer the allegations in Paragraph

10   188.

11            189.      Answering Paragraph 189, CSI denies the allegations.

12   Factual Allegations of Plaintiff Rosas

13            190.      Answering Paragraph 190, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            191.      Answering Paragraph 191, CSI denies the allegations.

17            192.      Answering Paragraph 192, CSI admits the allegations.

18            193.      Answering Paragraph 193, CSI admits the allegations.

19            194.      Answering Paragraph 194, CSI denies the allegations.

20            195.      Answering Paragraph 195, the referenced document speaks for itself.

21            196.      Answering Paragraph 196, the referenced logos speak for themselves.

22            197.      Answering Paragraph 197, the referenced document speaks for itself.

23            198.      Answering Paragraph 198, the referenced document speaks for itself.

24            199.      Answering Paragraph 199, CSI denies the allegations for lack of information.

25            200.      Answering Paragraph 200, CSI denies the allegations for lack of information.

26            201.      Answering Paragraph 201, CSI denies the allegations for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 20
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 1            202.      Answering Paragraph 202, CSI denies the allegations for lack of information.

 2            203.      Answering Paragraph 203, the allegations are directed to other Defendants and no

 3   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 4   allegations for lack of information.

 5            204.      Answering Paragraph 204, the allegations are directed to other Defendants and no

 6   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 7   allegations for lack of information.

 8            205.      Answering Paragraph 205, the allegations are directed to other Defendants and no

 9   response from CSI is required. To the extent a response from CSI is required, CSI denies the

10   allegations for lack of information.

11            206.      Answering Paragraph 206, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14            207.      Answering Paragraph 207, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            208.      Answering Paragraph 208, the allegations are directed to other Defendants and no

18   response from CSI is required. To the extent a response from CSI is required, CSI denies the

19   allegations for lack of information.

20            209.      Answering Paragraph 209, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23            210.      Answering Paragraph 210, the allegations are directed to other Defendants and no

24   response from CSI is required. To the extent a response from CSI is required, CSI denies the

25   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 21
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 1            211.      Answering Paragraph 211, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            212.      Answering Paragraph 212, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            213.      Answering Paragraph 213, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            214.      Answering Paragraph 214, CSI denies the allegations for lack of information.

11            215.      Answering Paragraph 215, CSI denies the allegations for lack of information.

12            216.      Answering Paragraph 216, CSI denies the allegations for lack of information.

13   Factual Allegations of Plaintiff Tapia

14            217.      Answering Paragraph 217, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17            218.      Answering Paragraph 218, CSI denies the allegations.

18            219.      Answering Paragraph 219, CSI admits the allegations.

19            220.      Answering Paragraph 220, CSI admits the allegations.

20            221.      Answering Paragraph 221, the referenced document speaks for itself.

21            222.      Answering Paragraph 222, the referenced document speaks for itself.

22            223.      Answering Paragraph 223, the referenced documents speak for themselves

23            224.      Answering Paragraph 224, the referenced document speaks for itself.

24            225.      Answering Paragraph 225, CSI denies the allegations.

25            226.      Answering Paragraph 226, the referenced document speaks for itself.

26            227.      Answering Paragraph 227, CSI denies the allegations.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 22
                                                                                      STOEL RIVES LLP
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 1            228.      Answering Paragraph 228, CSI denies the allegations.

 2            229.      Answering Paragraph 229, CSI denies the allegations for lack of information.

 3            230.      Answering Paragraph 230, the allegations are directed to other Defendants and no

 4   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 5   allegations for lack of information.

 6            231.      Answering Paragraph 231, the allegations are directed to other Defendants and no

 7   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 8   allegations for lack of information.

 9            232.      Answering Paragraph 232, the allegations are directed to other Defendants and no

10   response from CSI is required. To the extent a response from CSI is required, CSI denies the

11   allegations for lack of information.

12            233.      Answering Paragraph 233, the allegations are directed to other Defendants and no

13   response from CSI is required. To the extent a response from CSI is required, CSI denies the

14   allegations for lack of information.

15            234.      Answering Paragraph 234, the allegations are directed to other Defendants and no

16   response from CSI is required. To the extent a response from CSI is required, CSI denies the

17   allegations for lack of information.

18            235.      Answering Paragraph 235, the allegations are directed to other Defendants and no

19   response from CSI is required. To the extent a response from CSI is required, CSI denies the

20   allegations for lack of information.

21            236.      Answering Paragraph 236, the allegations are directed to other Defendants and no

22   response from CSI is required. To the extent a response from CSI is required, CSI denies the

23   allegations for lack of information.

24            237.      Answering Paragraph 237, the allegations are directed to other Defendants and no

25   response from CSI is required. To the extent a response from CSI is required, CSI denies the

26   allegations for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 23
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 1            238.      Answering Paragraph 238, the allegations are directed to other Defendants and no

 2   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 3   allegations for lack of information.

 4            239.      Answering Paragraph 239, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7            240.      Answering Paragraph 240, the allegations are directed to other Defendants and no

 8   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 9   allegations for lack of information.

10            241.      Answering Paragraph 241, CSI denies the allegations for lack of information.

11            242.      Answering Paragraph 242, CSI denies the allegations for lack of information.

12            243.      Answering Paragraph 243, CSI denies the allegations for lack of information.

13            244.      Answering Paragraph 244, CSI denies the allegations.

14            245.      Answering Paragraph 245, the allegations are directed to other Defendants and no

15   response from CSI is required. To the extent a response from CSI is required, CSI denies the

16   allegations for lack of information.

17                                    CLASS ACTION ALLEGATIONS

18   A.       PLAINTIFF CLASS - ALL SARBANAND FOREIGN H-2A WORKERS

19            246.      Answering Paragraph 246, the allegations are legal conclusions to which no

20   response is required. To the extent a response is required, CSI denies the allegations.

21            247.      Answering Paragraph 247, the allegations are legal conclusions to which no

22   response is required. To the extent a response is required, CSI denies the allegations.

23            248.      Answering Paragraph 248, CSI denies the allegations for lack of information.

24            249.      Answering Paragraph 249, the allegations are legal conclusions to which no

25   response is required. To the extent a response is required, CSI denies the allegations.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 24
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 1            250.      Answering Paragraph 250, the allegations are legal conclusions to which no

 2   response is required. To the extent a response is required, CSI denies the allegations.

 3            251.      Answering Paragraph 251, the allegations are legal conclusions to which no

 4   response is required. To the extent a response is required, CSI denies the allegations.

 5            252.      Answering Paragraph 252, the allegations are legal conclusions to which no

 6   response is required. To the extent a response is required, CSI denies the allegations.

 7   B.       PLAINTIFF SUBCLASS - TERMINATED AND EVICTED H-2A WORKERS

 8            253.      Answering Paragraph 253, the allegations are legal conclusions to which no

 9   response is required. To the extent a response is required, CSI denies the allegations.

10            254.      Answering Paragraph 254, the allegations are legal conclusions to which no

11   response is required. To the extent a response is required, CSI denies the allegations.

12            255.      Answering Paragraph 255, CSI denies the allegations for lack of information.

13            256.      Answering Paragraph 256, the allegations are directed to other Defendants and no

14   response from CSI is required. To the extent a response from CSI is required, CSI denies the

15   allegations for lack of information.

16            257.      Answering Paragraph 257, the allegations are legal conclusions to which no

17   response is required. To the extent a response is required, CSI denies the allegations.

18            258.      Answering Paragraph 258, the allegations are legal conclusions to which no

19   response is required. To the extent a response is required, CSI denies the allegations.

20            259.      Answering Paragraph 259, the allegations are legal conclusions to which no

21   response is required. To the extent a response is required, CSI denies the allegations.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 25
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 1                                           CAUSES OF ACTION

 2   A.       PLAINTIFF CLASS - ALL SARBANAND FOREIGN H-2A FIELD WORKERS

 3   TVPA - 18 U.S.C. §1589(a)(4)

 4            260.      Answering Paragraph 260, the allegations are directed to other Defendants and no

 5   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 6   allegations for lack of information.

 7   TVPA - 18 U.S.C. §1589(a)(3)

 8            261.      Answering Paragraph 261, the allegations are directed to other Defendants and no

 9   response from CSI is required. To the extent a response from CSI is required, CSI denies the

10   allegations for lack of information.

11   WASHINGTON FARM LABOR CONTRACT ACT - RCW 19.30

12            262.      Answering Paragraph 262, the allegations are directed to other Defendants and no

13   response from CSI is required. To the extent a response from CSI is required, CSI denies the

14   allegations for lack of information.

15            263.      CSI denies the allegations contained in Paragraph 263 of the Complaint.

16            264.      CSI denies the allegations contained in Paragraph 264 of the Complaint.

17            265.      CSI denies the allegations contained in Paragraph 265 of the Complaint.

18            266.      CSI denies the allegations contained in Paragraph 266 of the Complaint.

19            267.      CSI denies the allegations contained in Paragraph 267 of the Complaint.

20   WASHINGTON FARM LABOR CONTRACT ACT - RCW 46.60.180(3)

21            268.      Answering Paragraph 268, the allegations are directed to other Defendants and no

22   response from CSI is required. To the extent a response from CSI is required, CSI denies the

23   allegations for lack of information.

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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
     DAMAGES AND INJUNCTIVE RELIEF (18-cv-00112-JCC) - 26
                                                                                      STOEL RIVES LLP
                                                                                           ATTORNEYS
                                                                      600 University Street, Suite 3600, Seattle, WA 98101
     96945618.1 0067330-00002                                                       Telephone 206.624.0900
               Case 2:18-cv-00112-JCC Document 31 Filed 05/21/18 Page 27 of 30




 1   WASHINGTON CONTRACT LAW

 2            269.      Answering Paragraph 269, the allegations are directed to other Defendants and

 3   no response from CSI is required. To the extent a response from CSI is required, CSI denies the

 4   allegations for lack of information.

 5            270.      Answering Paragraph 270, the allegations are directed to other Defendants and no

 6   response from CSI is required. To the extent a response from CSI is required, CSI denies the

 7   allegations for lack of information.

 8            271.      Answering Paragraph 271, the allegations are directed to other Defendants and no

 9   response from CSI is required. To the extent a response from CSI is required, CSI denies the

10   allegations for lack of information.

11            272.      Answering Paragraph 272, the allegations are directed to other Defendants and no

12   response from CSI is required. To the extent a response from CSI is required, CSI denies the

13   allegations for lack of information.

14   B.       PLAINTIFF SUBCLASS - TERMINATED AND EVICTED H-2A WORKERS

15   WASHINGTON’S LITTLE NORRIS-LAGUARDIA ACT - RCW 49.32.020

16            273.      Answering Paragraph 273, the allegations are directed to other Defendants and no

17   response from CSI is required. To the extent a response from CSI is required, CSI denies the

18   allegations for lack of information.

19   WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY

20            274.      Answering Paragraph 274, the allegations are directed to other Defendants and no

21   response from CSI is required. To the extent a response from CSI is required, CSI denies the

22   allegations for lack of information.

23   WRONGFUL EVICTION

24            275.      Answering Paragraph 275, the allegations are directed to other Defendants and no

25   response from CSI is required. To the extent a response from CSI is required, CSI denies the

26   allegations for lack of information.

     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
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 1                                           PRAYER FOR RELIEF

 2            CSI denies that Plaintiffs are entitled to any of the relief set forth in the Complaint.

 3                                         AFFIRMATIVE DEFENSES

 4            Without assuming the burden of proof on the issue, CSI sets forth the following

 5   affirmative defenses:
 6            1.        Plaintiffs have failed to state a claim upon which relief may be granted.
 7            2.        Plaintiffs’ damages, if any, were caused by Plaintiffs’ own acts or omissions or by
 8                      the acts or omissions of Plaintiffs’ agents, representatives, or employees.
 9            3.        Plaintiffs’ damages, if any, were caused by intervening causes or by the acts or
10                      omissions of third parties outside the control of CSI.
11            4.        Plaintiffs have failed to mitigate their damages, if any.
12            5.        This Court lacks personal jurisdiction over CSI.
13            6.        Plaintiffs’ claims are barred in whole or in part by the applicable statute of
14                      limitations.
15            7.        Plaintiffs’ claims are barred by the doctrine of waiver.
16            8.        Plaintiffs’ claims are barred by the doctrine of estoppel.
17            9.        Plaintiffs and the purported class they seek to represent fail to meet the
18                      requirements of Rule 23.
19            10.       Plaintiffs’ claims are barred by the doctrine of unclean hands.
20            11.       CSI specifically reserves its right to bring further affirmative defenses.
21                                     DEFENDANT’S PRAYER FOR RELIEF
22            WHEREFORE, having fully answered Plaintiffs’ Complaint and having set forth its
23   affirmative defenses, Defendant CSI prays for the following relief:
24            1.        Dismissal of CSI with prejudice from this action;
25            2.        Dismissal of Plaintiffs’ Complaint, with prejudice, and Plaintiffs take nothing;
26            3.        An award of costs and reasonable attorneys’ fees; and

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 1            4.        Such other relief as the Court deems just and proper.

 2

 3            DATED: May 21, 2018
                                                           STOEL RIVES LLP
 4

 5
                                                           /s/ Adam S. Belzberg
 6                                                         Adam S. Belzberg, WSBA No. 41022
                                                           Christopher T. Wall, WSBA No. 45873
 7                                                         600 University Street, Suite 3600
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 8                                                         Telephone: (206) 624-0900
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                                                                   christopher.wall@stoel.com
10
                                                           Attorneys for Defendant CSI Visa Processing
11                                                           S.C.
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     ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT FOR
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               Case 2:18-cv-00112-JCC Document 31 Filed 05/21/18 Page 30 of 30




 1                              CERTIFICATE OF SERVICE AND FILING
 2
             I hereby certify that on May 21, 2018, I electronically filed the foregoing with the Clerk
 3   of the Court using the CM/ECF system which will send notification of such filing to the
     following participants:
 4
         •    Adam J Berger
 5            berger@sgb-law.com,cronan@sgb-law.com,oneil@sgb-law.com,molina@sgb-
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 6
         •    David Nelson Bruce
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17            myanick@sbwllp.com,eservice@sbwllp.com
18

19

20            DATED: May 21, 2018
                                                  /s/ Adam S. Belzberg
21                                                Adam S. Belzberg, WSBA No. 41022

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